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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                    AMARILLO DIVISION


 Susan Neese, M.D, and James Hurly,
 M.D., on behalf of themselves and
 others similarly situated,

                        Plaintiffs,
                                                 Case No. 2:21-cv-00163
 v.

 Xavier Becerra, in his official capacity as
 Secretary of Health and Human Services,
 United States of America,

                        Defendants.


                        COMPLAINT — CLASS ACTION
      Section 1557 of the Affordable Care Act prohibits “sex” discrimination in any
health program or activity that receives federal financial assistance. See 42 U.S.C.
§ 18116. On May 10, 2021, Secretary Becerra announced that the Department of
Health and Human Services (HHS) will “interpret and enforce” section 1557 to pro-

hibit: (1) “discrimination on the basis of sexual orientation”; and (2) “discrimination
on the basis of gender identity.” See Exhibit 1. The Secretary’s interpretation of section
1557 is incompatible with the statutory language, and the Court should declare it so
and enjoin the Secretary from using or enforcing this interpretation of section 1557.

                         JURISDICTION AND VENUE
      1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
      2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).




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                                       PARTIES
    3.    Plaintiff Susan Neese, M.D., is a citizen of Texas who resides in Potter
County.
    4.    Plaintiff James Hurly, M.D., is a citizen of Texas who resides in Potter
County.
    5.    Defendant Xavier Becerra is the U.S. Secretary of Health and Human Ser-
vices. He may be served at his office at 200 Independence Avenue SW, Washington,
D.C. 20201. Secretary Azar is sued in his official capacity.

    6.    Defendant United States of America is the federal government of the United
States of America.

                             STATEMENT OF FACTS
    7.    Section 1557 of the Affordable Care Act provides:

         [A]n individual shall not, on the ground prohibited under title VI of
         the Civil Rights Act of 1964 (42 U.S.C. 2000d et seq.), title IX of the
         Education Amendments of 1972 (20 U.S.C. 1681 et seq.), the Age
         Discrimination Act of 1975 (42 U.S.C. 6101 et seq.), or section 794
         of title 29, be excluded from participation in, be denied the benefits of,
         or be subjected to discrimination under, any health program or activity,
         any part of which is receiving Federal financial assistance, including
         credits, subsidies, or contracts of insurance, or under any program or
         activity that is administered by an Executive Agency or any entity estab-
         lished under this title (or amendments).
42 U.S.C. § 18116(a).
    8.    None of the anti-discrimination statutes mentioned in section 1557 prohibit
discrimination on account of “sexual orientation” or “gender identity.”
    9.    In Bostock v. Clayton County, 140 S. Ct. 1731 (2020), the Supreme Court
held that Title VII’s prohibition on “sex” discrimination prohibits employers from
firing or refusing to hire individuals “for being homosexual or transgender.”
    10. Bostock explained that an employer who fires an employee for conduct or
personal attributes that it would tolerate in a person of the opposite biological sex has




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made the employee’s sex the “but-for cause” of his discharge, and that (in the Court’s
view) automatically violates the statutory command of Title VII. The Court explained:

       If the employer fires the male employee for no reason other than the
       fact he is attracted to men, the employer discriminates against him for
       traits or actions it tolerates in his female colleague. Put differently, the
       employer intentionally singles out an employee to fire based in part on
       the employee’s sex, and the affected employee’s sex is a but-for cause
       of his discharge. Or take an employer who fires a transgender person
       who was identified as a male at birth but who now identifies as a female.
       If the employer retains an otherwise identical employee who was iden-
       tified as female at birth, the employer intentionally penalizes a person
       identified as male at birth for traits or actions that it tolerates in an em-
       ployee identified as female at birth. Again, the individual employee’s sex
       plays an unmistakable and impermissible role in the discharge decision.
Bostock, 140 S. Ct. at 1741–42.
    11. Bostock also makes clear that an employer does not violate Title VII if it fires
an employee for conduct or personal attributes that it would not tolerate in an em-
ployee of the opposite biological sex:

       Take an employer who fires a female employee for tardiness or incom-
       petence or simply supporting the wrong sports team. Assuming the em-
       ployer would not have tolerated the same trait in a man, Title VII stands
       silent.
Bostock, 140 S. Ct. at 1742.
    12. Bostock does not prohibit employers from discriminating on account of sexual

orientation or gender identity, so long as they do not engage in “sex” discrimination
when doing so.
    13. For example, Bostock’s interpretation of Title VII does not prohibit discrimi-
nation against bisexual employees or job applicants, so long as the employer regards
bisexual behavior or orientation as equally unacceptable in a man or a woman. See,
e.g., Bostock v. Clayton County, 140 S. Ct. 1731, 1742 (2020) (“Take an employer
who fires a female employee for tardiness or incompetence or simply supporting the
wrong sports team. Assuming the employer would not have tolerated the same trait



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in a man, Title VII stands silent.”); see also id. at 1740 (“[F]iring [a] person for actions
or attributes it would tolerate in an individual of another sex . . . discriminates against
that person in violation of Title VII.”). Discrimination against a bisexual employee or
job applicant is certainly discrimination on account of “sexual orientation,” but it is
not discrimination on account of “sex.”
    14. Bostock also allows employers to discriminate against homosexual or
transgender employees or job applicants, so long as they do so according to rules that
apply equally to both sexes and would lead to the same result if the employee’s bio-
logical different were different. An employer, for example, may decide that he will not
employ any person, male or female, who takes testosterone supplements — regardless
of whether those supplements are being taken by a biological woman who wants to
appear as a man, or by a biological man who wants bigger muscles. Or he may decide
that he will not employ any person, male or female, who has undergone surgery to
modify their genitals. Policies of that sort obviously discriminate against transgender
individuals, but they do not constitute “sex” discrimination as defined in Bostock be-
cause the rules apply equally to both biological sexes. See Bostock v. Clayton County,

140 S. Ct. 1731, 1746–47 (2020) (“We agree that homosexuality and transgender
status are distinct concepts from sex.”).

    15. Secretary Becerra’s edict of May 10, 2021, wrongly equates discrimination
on account of sexual orientation and gender identify with “sex” discrimination. Yet
there are many ways in which health-care providers can deny or withhold controversial
treatments demanded by homosexual, bisexual, or transgender patients without en-
gaging in “sex” discrimination as defined in Bostock.
    16. Consider a health-care provider who refuses to prescribe testosterone hor-
mone to a biological woman who wishes to appear as a man. If that provider would
have equally refused to prescribe those hormones to a biological man, then there is
no “sex” discrimination under Bostock.


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    17. Or consider a health-care provider who refuses to refer a biological man for
a sex-change operation that would remove his penis and testicles. As long as that pro-
vider would have equally refused to refer a biological female for that identical opera-
tion, then there is no “sex” discrimination under Bostock.
    18. Or consider a health-care provider who refuses to prescribe Truvada or PrEP
drugs to homosexual men because he does not wish to facilitate homosexual sodomy,
which he regards as immoral or contrary to his religious beliefs. So long as that pro-
vider would likewise refuse to prescribe Truvada or PrEP drugs to female patients,
then he has not engaged in “sex” discrimination of any sort.
    19. Yet the Becerra edict would consider this a violation of section 1557, because
it falsely states that Bostock prohibits all forms of discrimination on the basis of “sexual
orientation” or “gender identity.” See Exhibit 1 at 2 (“The Bostock majority concluded
that the plain meaning of “because of sex” in Title VII necessarily included discrimi-
nation because of sexual orientation and gender identity.”). Bostock held nothing of
the sort. It remains perfectly legal after Bostock to “discriminate” against homosexual
or transgender individuals, so long as one does not engage in “sex” discrimination

when doing so — i.e., so long as one does not treat a biological man differently from
how he would treat an identically situated biological woman.

                      FACTS RELATED TO STANDING
    20. Plaintiff Susan Neese, M.D., is an internal medicine specialist in Amarillo,
Texas. She is affiliated with Baptist Saint Anthony’s Hospital, which receives federal
money and is subject to section 1557.
    21. Dr. Neese’s views on transgenderism are nuanced. She has treated patients
suffering from gender dysphoria in the past and has on occasion prescribed hormone
therapy for them. But she does not believe that hormone therapy or sex-change op-




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erations are medically appropriate for everyone who asks for them, even if those indi-
viduals are suffering from gender dysphoria, and she will on occasion decline to pre-
scribe hormone therapy or provide referrals for sex-change operations, consistent with
her Hippocratic Oath to do no harm.
    22. Secretary Becerra’s interpretation of section 1557 interferes with Dr. Neese’s
ability to conduct her medical practice, thereby inflicting injury in fact. This injury is
traceable to Secretary Becerra, and it will be redressed by the declaratory and injunc-
tive relief sought in this lawsuit.
    23. Plaintiff James Hurly, M.D., is a board-certified pathologist in Amarillo,
Texas. He is employed by the Amarillo Pathology Group, which receives federal
money and is subject to section 1557.
    24. Dr. Hurly’s views on transgenderism are nuanced. Although he recognizes
that some biological men may identify as women (and vice versa), he has encountered
situations in his medical practice when he must insist that a patient acknowledge his
biological sex rather than the gender identity that he asserts. For example, Dr. Hurly
once diagnosed a biological male patient with prostate cancer, but the patient refused

to accept Dr. Hurly’s diagnosis because he identified as a woman and insisted that he
could not have a prostate. Dr. Hurly had to firmly explain to this patient that he was

indeed a biological man with a prostate, and that he needed to seek urgent medical
treatment for his prostate cancer.
    25. Secretary Becerra’s interpretation of section 1557 interferes with Dr. Hurly’s
ability to conduct his medical practice, thereby inflicting injury in fact. This injury is
traceable to Secretary Becerra, and it will be redressed by the declaratory and injunc-
tive relief sought in this lawsuit.




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                        CLASS-ACTION ALLEGATIONS
    26. The plaintiffs bring this class action under Rule 23(b)(2) of the federal rules
of civil procedure.
    27. Dr. Neese and Dr. Hurly seek to represent a class of all health-care providers
subject to section 1557 of the Affordable Care Act.
    28. The number of members in the class makes joinder of the individual class
members impractical.
    29. There are questions of law common to the class, including whether Secre-

tary Becerra’s Notification of Interpretation and Enforcement of May 10, 2021, cor-
rectly interprets section 1557 and Bostock.
    30. Dr. Neese and Dr. Hurly’s claims are typical of other members of the class,
as each of them wishes to preserve the autonomy of their medical practice.

    31. Dr. Neese and Dr. Hurly adequately represent the interests of the class, and
they have no interests antagonistic to either of the classes.
    32. A class action is appropriate under Rule 23(b)(2) because the defendants
are acting on grounds that apply generally to the class, so that final injunctive relief or
corresponding declaratory relief is appropriate respecting the class as a whole.

                      Claim 1: Administrative Procedure Act
    33. Secretary Becerra’s Notification of Interpretation and Enforcement of May
10, 2021, is “not in accordance with law” under section 706(2)(A) of the APA, be-
cause it wrongly equates discrimination on account of sexual orientation and gender
identity with “sex” discrimination.
    34. The Court should “hold unlawful and set aside” the Notification of Inter-
pretation and Enforcement of May 10, 2021, and it should enjoin the Secretary from
enforcing its interpretation of section 1557.
    35. The plaintiffs bring this claim under sections 702, 704, and 706 of the APA.
See 5 U.S.C. §§ 702, 704, 706.



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                         Claim 2: Declaratory Judgment Act
    36. Section 1557 and Bostock do not prohibit discrimination on account of sexual
orientation and gender identity. They prohibit only discrimination on account of
“sex,” and they allow health-care providers to take discriminatory actions with respect
to homosexual, bisexual, or transgender patients as long as they would have acted in
the same manner had the patient had been a member of the opposite biological sex.
    37. The Court should therefore declare that section 1557 does not prohibit dis-
crimination on account of sexual orientation and gender identity, as Secretary Becerra

claims, but that it prohibits only “sex” discrimination, which means that provider
would have acted differently toward an identically situated member of the opposite
biological sex.
    38. The plaintiffs bring this claim under 28 U.S.C. § 2201.

                               DEMAND FOR RELIEF
    39. The plaintiffs respectfully request that the court:

         a.       certify the class described in paragraph 27;

         b.       hold unlawful and set aside Secretary Becerra’s Notification of Interpre-
                  tation and Enforcement of May 10, 2021;

         c.       enjoin Secretary Becerra form using or enforcing the interpretation of
                  section 1557 that appears in the Notification of Interpretation and En-
                  forcement of May 10, 2021;

         d.       award the declaratory relief described in paragraph 37;

         e.       award costs and attorneys’ fees;

         f.       award all other relief that the Court deems just, proper, or equitable.




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                                     Respectfully submitted.

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